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                                   DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Steven P. Logan                             Date: June 13, 2024
Case Number: CV-21-08013-PCT-SPL
Sweidy v. Spring Ridge Academy et al

APPEARANCES: Plaintiff(s) Counsel                                Defendant(s) Counsel
             Mara Smith Allard                                   Michael B. Smith
             Kimberly Rene Sweidy                                Robert Grasso

JURY TRIAL – DAY 11
9:01 a.m. Court is in session. Counsel are present. Plaintiff Kimberly Rene Sweidy present. Defendant
Kate Deily present. Spring Ridge Academy Client Representative Suzanne Courtney present. Jury is
present. Final instructions read to the Jury. 9:27 a.m. Jury is excused to begin deliberations. Trial
matters discussed. 9:33 a.m. Court stands in recess.

9:30 a.m. Jury begins deliberations. 11:07 a.m. Jury takes a break. 11:21 a.m. Jury resumes
deliberations. 12:37 p.m. Jury takes a break. 1:30 p.m. Jury resumes deliberations. 4:30 p.m. Jury is
excused.

4:30 p.m. Court stands in recess until 9:00 a.m. on Friday, June 14, 2024.


Deputy Clerk: Molly Williams                                                     Jury Tr: 26m
Court Reporter: Elva Cruz-Lauer (AM)                                             Start: 9:01 am
                                                                                 Stop: 9:27 pm
